Case 2:09-cr-00501-SRC               Document 102         Filed 12/22/10         Page 1 of 1 PageID: 345
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UNED l’AThS DfSTRICr COURT
DITh1CT OF NW JERSEY
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                              ——---—.—.----—-——--—-‘              MagJCrün. No, 09-501
UNfl STATES OP AMERICA.


                                                                 ORDER RBQU!S’ITG
          ,   •AGAtNST                                           PERMISSION
                                                                 TO TRA

IUrLvTN C0RBIN
                                     Dófezidant


    PLEASE TAKE NOTICE, that I, Chiiatopher Rcaftoe &q., en attorney duly adrtdttnd to

svtie Law in tfle State Of New .Trsey do hereby xquest imbebaLf of KELVIN CORBIN

pmiaioo 10 travel to h ridcxce located at 107 Maple Street, Neywville, NC on 1radiy

     rnbr3 Z1O. i&telcphwnernimber m North Carolina Is 910-74-O447 and hIS-call is 917..

577.3 894. Mr. Corbin plmns on driving to North Carolina alone and aying at said location until

Tusda Dá0b* 2010 at Whiel time ha wilt drive back to New Yozk.

       AUSA. Lcdio Schwar and -Pr.$rIal Officer Denial MUne have no objection to Kelvin

Córbhi trevaling to N&-tb Caroiia&

De Poatflilha, NY
   tnber21,2.01O


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                                                         Statee Digtriz,t Court ofNI
                                                  Martin Luther King $i(ldiug & U.S. Courthouse
                                                  50 Walnut Street
                                                  Ncwv,NJ 07]Ol
